           Case 2:08-cr-00449-WBS Document 173 Filed 01/31/13 Page 1 of 3




     WILLIAM J. PORTANOVA, State Bar No. 106193
1    Attorney at Law
2
     400 Capitol Mall, Suite 1100
     Sacramento, CA 95814
3    Telephone: (916) 444-7900
     Fax: (916) 444-7998
4
     Portanova@TheLawOffices.com
5

6    Attorney for Minh Vihn Le
7
                                  UNITED STATES DISTRICT COURT
8

9                               EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,           )                 Case No. 2:08-CR-00449-WBS
11
                                         )
12                     Plaintiff,        )                 STIPULATION AND PROPOSED
                                         )                 ORDER CONTINUING JUDGMENT
13        v.                             )                 AND SENTENCING
                                         )
14
     MINH VIHN LE and                    )
15   CUONG THE LE,                       )
                                         )
16                     Defendants.       )
     ____________________________________)
17

18           With the Court’s permission, plaintiff United States of America, by and through its
19   counsel, Assistant United States Attorney Jason Hitt, and defendant Minh Vihn Le, by and
20   through his attorney, William J. Portanova, and defendant Cuong The Le, by and through his
21   attorney, Dan Koukol, hereby stipulate that the date of defendants’ sentencing, now set for
22   February 4, 2013 at 9:30 a.m. be continued to April 8, 2013, at 9:30 a.m.
23           This brief continuance is necessary so that the parties can continue to address certain
24   matters concerning Sentencing.
25   ///
26   ///
27   ///
28   ///
        Case 2:08-cr-00449-WBS Document 173 Filed 01/31/13 Page 2 of 3




1           IT IS SO STIPULATED.

2
     Dated: January 31, 2013                 /s/ William J. Portanova
3
                                             _____________________________
4                                            WILLIAM J. PORTANOVA
                                             Attorney for Defendant Minh Vihn Le
5

6    Dated: January 31, 2013                 /s/ Dan Koukol
                                             ______________________________
7
                                             DAN KOUKOL
8                                            Attorney for Defendant Cuong The Le

9
     Dated: January 31, 2013                 /s/ Jason Hitt
10
                                             _____________________________
11                                           JASON HITT
                                             Assistant United States Attorney
12

13

14          IT IS SO ORDERED.

15

16
     Dated: January 31, 2013

17

18

19

20

21

22

23

24

25

26

27

28
     Case 2:08-cr-00449-WBS Document 173 Filed 01/31/13 Page 3 of 3




1

2

3

4

5

6

7

8

9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
